                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION

                               DOCKET NO. 3:99-CR-60-6-FDW


 UNITED STATES OF AMERICA                          )
                                                   )
         vs.                                       )
                                                   )              MEMORANDUM
 CARLOS RAY LANIER,                                )               OF DECISION
                                                   )
                Defendant.                         )
                                                   )

       In this matter before the Court for a reduction of sentence pursuant to 18 U.S.C.§ 3582(c)(2)

and Amendment 706 of the U.S.S.G. (made retroactive by Amendment 713), the Court makes the

following findings and conclusions:

1.     Defendant is eligible for a sentence reduction to a period of confinement equal to120 months

(the statutory minimum) for the reasons set forth in the Supplement to the Presentence Report.

2.     In the case of a defendant who has been sentenced to a term of imprisonment “based on a

sentencing range that has subsequently been lowered by the Sentencing Commission,” 18

U.S.C. § 3582(c)(2) provides that the Court may reduce the term of imprisonment “after considering

the factors set forth in section 3553(a) to the extent they are applicable” and if such a reduction is

consistent with the applicable policy statements issued by the Sentencing Commission. In the

Commentary to U.S.S.G. § 1B1.10, the Sentencing Commission emphasized that the decision to

grant a sentence reduction authorized by retroactive amendments is discretionary and that

retroactivity does not entitle a defendant to a reduced term of imprisonment as a matter of right.

3.     The full record before the Court reflects a defendant who has made some efforts to

rehabilitate himself and to prepare for re-entry into society. Nevertheless, these efforts are



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insufficient in the mind of the Court to overcome its misgivings about the premature release of this

Defendant. Specifically, Lanier’s lengthy and deep involvement in the drug conspiracy for which

he was convicted began while he was serving a sentence for second-degree murder and befriended

one of the leaders of the instant conspiracy. Furthermore, Defendant’s disciplinary record from his

current incarceration, which includes two citations for fighting and one for insolence, portends that

he may not be ready to re-enter society and abide by the law.

4.     Upon consideration of the sentencing factors set forth in 18 U.S.C. § 3553(a), the possible

threat to public safety posed by the early release of a person with this defendant’s criminal

predispositions, and this defendant’s post-sentencing conduct, the court finds:

       a.      That the original sentence of 140 months is adequate, but no greater than necessary,

               to accomplish the objectives of sentencing, while a reduction would frustrate those

               objectives;1 and

       b.      This sentence is nevertheless below the amended guidelines range on account of the

               Defendant’s prior substantial assistance to the government.

       An appropriate Order shall issue separately.

                                                 Signed: November 24, 2008




       1
        The Court notes that it is not required under Fourth Circuit case law to undertake an
exhaustive analysis of all of the § 3553(a) factors in this Order. See United States v. Legree, 205
F.3d 724, 728-29 (4th Cir. 2000).

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